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            IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF ALABAMA
                      EASTERN DIVISION

MADISEN ULRICH,           )
                          )
     Plaintiff,           )
                          )
v.                        )           Case No.: 3:20-cv-1018-RAH-SRW
                          )
319 BRAGG STUDENT HOUSING )
AUBURN, AL, et al.,       )
                          )
     Defendants.          )

         CSX TRANSPORTATION, INC.’S SUPPLEMENTAL
     EVIDENTIARY SUBMISSION IN SUPPORT OF ITS MOTION
        FOR SUMMARY JUDGMENT AND ITS MOTION TO
           STRIKE AFFIDAVIT OF BRANDON OGDEN




                            Exhibit 1
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